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P“ll_ES 1

VERDELL TERRIA JONES, ESTATE
Offi°e °fthe EX@°““'iX ms APF: l l FH 1= 33
General Post Oflice
c/o 9378 Arlington Expressway 175 " r ' ` `
Jacksonville, Florida., near [32225-9998] l“il‘;;"n,ii:]',v‘j jt |;;__;'; § \_J.-`- h di
[Non-domestic}.

  

Case Number: 311 7-cr-58-J-39JBT,
17-7745

10, April, 2018

 

From: Office of the General Executrix, VERDELL TERR.IA JONES, ESTA'I`E

To: Certiiicate of Service.

Subj: GRANTOR’S / TESTATOR’S ASSERTION OF RIGHT AND ACCEPTANCE TO
OFFICE OF GENERAL EXECUTR]X AND CHIEF ADMINISTRATOR FOR THE ESTATE
OF VERDELL TERRIA JONES.

Ref: A Last Will and Testament for VERDELL TERRIA JONES, ESTATE, filed at the
COUNTY OF SUWANNEE Courthouse in Court Records Number or book 1936 page 440.

l. Situation and pg;@se. To confirm by acknowledgment the appointment of Verdell - Terria
Jones, to the office of General Executrix and Chief Administrator for the Trust and all matters
governing the Estaie of VERDELL TERRIA JONES, as per the intentions of the Grantor and

Testator’s last will and testament filed within the Judicial Circuit, State of I~`LORIDA, and the
COUNTY OF DUVAL Register / Recorder of Deeds.

l(a). Let it be known to all that by this duly recorded Notice that the Officc of General
Executrix for the VERDELL TERRIA JONES, Estate is hereby occupied, Nunc Pro Tunc.

l(b). The Divine Creator as Grantor/Creator of Verdell-Terria:]ones, the Triune of Body-Mind-
Spirit as the original Trust Corpus, did gift, grant and convey the Divine Right of Use into Trust
for Our Bene{it.

l(c). As witnessed before all Heaven and Earth the Creator granted to Us at birth the immutable
and irrevocable Rights over Our name, Our Free Will, Our flesh, Our energy, Our labor, Ou.r
mind, and Our Divine Spirit. Verdell-Terria:]ones, the Triune of Body-Mind-Spirit With
Authority and Dominium from the Divine Creator, do hereby pronounce, claim and occupy the
OHice of General Executor for the VERDELL TERRIA .IONES, Estate, Nunc Pro Tunc.

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l(d). As We have accepted the appointment of occupant of the OHice of General Executrix-, no
office, nor otiicers possess any lawful rights or Our recognition to continue as agents,
administrators and guardians on Our behalt`. Therefore, whether they had acted through an otiice
of custodian, protector, steward, keeper, guardian., attorney-in-fact or any other title, We hereby
pronounce their acts null and void, Nunc Pro Tunc.

l(e). As for any assumed tilial claims of the State over Us, let it be known to all that We hereby
disavow the State having any filial rights over Us for the first time; We disavow the State having
any tilial rights over Us for the second time; and We disavow the State has any filial rights over
Us before the Divine Creator and all Heaven and Earth for the third and iinal time.

2. Cancellation. This assertion cancels, voids, rescinds, revokes, and repudiates all policy,
statutes, contracts, and presumptions of presumed executorial or administrative authority. This
appointment is valid from your receipt of this notice, Nunc Pm Tunc.

3. Mission/Ob`]ective. To publish and promulgate the Testator’s and Grantor’s Assertion of Right
and affirming the office of General Executrix and Chief Adrninistrator for the Estate of
VERDELL TERRIA JONES /VERDELL T. JONES fVERDELL JONES, and every variation of
an artificial entity, i.e., “Coliective Entity,” known herein both jointly and severally herein as the
“Estate” while maintaining a peaceful relationship with those “in care ot” persons, serving as
trustees, Educiaries, and public servants appointed by the Executrix to serve the interests of the
Estate. Let it be known that I hereby appoint public servants: Judge for the UNITED STATES
MIDDLE DISTRICT COURT FOR DUVAL COUNTY, FLORIDA Attorney General, PAM
BONDI FLORlDA A'I`TORNEY GENERAL, the District Attorney’s office for the COUNTY
OF DUVAL, Governor of FLOR[DA,RICK SCOTT, GOVERNOR, and KEN DETZNER
Secretary of State, FLORI])A SECRE'I`ARY OF STATE, as fiduciaries over the Estate; and they
are hereby ordered to withdraw all charges against the Estate, grant the Estate a full pardon of all
charges against the Estate, and award the relief sought in Petitioner’s Motion for Default
Judgment which was filed in the Federal Court of the UNITED STATES MIDDLE DISTRICT

J udicial Circuit, State of FLORlDA, on 04/11/ 2018. This is the said public servants only orders
and responsibilities Any other action is unauthorized and will be deemed null and void by this
Court, which is the Executrix’s OH`ice. As the General Executrix., I, Verdell-'I`erria:.iones, give
the said public servants 10 days to execute my orders. Failure to do so will result in breach of
fiduciaries duties which is Trust Law, the highest law, being violated and total disregard towards
the highest office which is the ()f[ice of General Executrix, the Court.

a. All officials and government servants have taken an oath. Even if they have not taken an oath
on record, they have cashed a paycheck and accepted the responsibility 'I`he fiduciary duty of all
otiicials is to serve and protect the Estates and the occupant of the Executrix Office. A fiduciary
responsibility is the highest responsibility in law.

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4. Execution. As of the date of this notice, Verdell-Terria:]ones, who is a Moor, possessing
Free-hold by inheritance and Primogeniture Status, a natural person, identified in the Will,
assumes the Ofiice of General Executrix and Chief Administrator for the Estate and is granted
full faith and credit to execute the duties of this oHice as outlined in the Will.

5. Adrninistration.

a. All Courts of Record, Courts of Equity, Adrninistrative Courts, legislative Courts, and the
Ofiicers of Public Trust have a duty and responsibility to acknowledge the Office of General
Executrix and Chief Adrninistrator for all matters regarding administration of claims against
VERDELL TERRIA JONES, VERDELL T. JONES, VERDELL JONES, and any and all
spelling variations of the said Estate.

b. Any use or reference to the title Verdell-Terria:]ones by the Bxecutrix or Chief
Administrator, including the titles, The Governor/Grantor/Executor/ Director/Sole
Beneficiary/Sole Shareholder/Chief Executive Oflicer/Guardian, in any format and/or rendering
is always to refer to the General Executrix’s Office.

c. The Chief Administrator and General Executrix is not subject to lien, levy, submission
to jurisdiction, or acquisition at any moment or in any situation, and shall enjoy all privileges,
benefits, and immunities afforded by the United States Constitution, Treaty of Peace, and the
Will.

d. The Chief Adrninistrator and General Executrix is not a public servant and any claim to
the contrary must be proven by payroll records to include, alleged public servant title, and
sworn under the penalty of perjury and under full commercial liability. The Grantor claims
common law jurisdiction at every moment and at all time(s).

e. The Grantor waives all compelled benefits of every type and kind.

f. Anyone refuting any of the aforementioned and or the following issues must do so on the
public record, in writing, by way of sworn written affidavit sworn to under penalty of perjury
with an assessment of $1,000,000.00 for each issue and occurrence of perjury/false and
misleading information, and/or unproven misleading statements or assertions No other
refining documents will be accepted. Failure to respond within 10 days will be agreement and
estoppel.

g. Claims avainst the Estate. Ail claims against the Estate for payment or usage of credits or
interest of any kind and in any amount, whether it be for tax, or fee, or collection, or charge, or
discharge, shall not be paid, without being presented to the office of General Executrix for
approval.

(l) When approval is given for administration or probation of the Estate, it shall be made
evident in writing by this office, and as per requirement, anyone who claims authority to act on
behalf of the estate shall be required to be in possession of the letter a$rming the Fiduciary
authority to do so. Continuing unauthorized use of credits or interests without express consent

 

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and upon being noticed by this order constitutes fraud against the estate, and the committing of
perjury by the individuals acting.

h. Notice to Trustees and Fiduciaries. Trustees and Fiduciaries may not assert any
management power over the Estate without delegation in writing by authority from this office
Fiduciaries shall at no time improperly use the Estates money, assets, property, services, or credit
in the performance of, or as a result of, their official duties for activities that have not been
approved by this office.

i. Notice to Public Officials and Trustees.

(l) Every person who, under color of law, or any statute, ordinance, regulation, custom, or
usage, of any state or territory, interferes, obstructs, deprives any rights, privileges, or
immunities of the Estate shall be liable to the Estate without immunity in an action at suit or
other proper proceeding for redress.

 

(2) Public officials wishing to present a claim against the Estate shall, in accordance with
the law and administrative policy established by this office, comply with requirement to disclose
personal assets and liabilities as well as those of their spouses and/or dependents to the
administration office of the Estate.

j. Response to this Notice. Response is not required; however, any response received of
which purports the inability or refusal to perform in accordance with the guidance set forth in
this notice must be submitted to our office inciuding a signed PSQl or with affirmation signed
under penalty of perjury in accordance with requirements set forth in the Privacy Act of 1974
(Public Law 93-579) which shall serve to ensure high standards of honesty, impartiality, moral
character, and honorable conduct as in accordance with Title 5 CFR Part 735. The Estate is
relying on your silence as consent and assent to bind this agreement and the duties and
obligations set forth herein.

MEMQBAN]BM_QF_LA}!

l) The Executrix Ofiice is the “Court” as the Sovereign is in equality. Detinition of Court in the
Black’s Law Dictionary, 4th edition, states that, “The Sovereign with their real retinue -
wherever they may be ~ is the Executrix Oflice.”

2) The Executrix Of`fice always deals with the administrative ofiice because the Executrix’s
Ofiice is a Court. lt is an administrative office, but it is a judicial office, also.

3) The Execut:rix Oflice is or appears to be as high or higher than the term of Sovereign, i.e.
ruler, Pope, King, or any other illusion of Man’s superiority as some understand it; therefore, the
Executrix Ofiice has no reason or need to ever consider a legal action from a lower system as the
Ofiice has the authority to submit either an order or request to lower office enforcement holders
to perform corrective actions.

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EXECUTRIX:

(a)“General Executrix. A general executor is one who is appointed to administer the whole
estate without any limit of time or place or of the subject matter." [Bouvier's Law Dictionary,
1856 edition]

(b)"General Executrix. One whose power is not limited either territorially or as to the
duration or subject of his trust.“ [Black’s Law Dictionary, Ist Ed.]

(c)“Executrix. He to whom another commits by will the execution of his last will and
testament.” [Wr`lliam C. Anderson, A Dictr'onary of Law (1893)]

(d)“General Executor. An executor whose power is unlimited as to time, place, or subject
matter.”[Wz`lliam C. Anderson, A Dictionary ofLaw (]893)]

(e)“Exeeutor De Son Tort: Executor of his own wrong. A person who assumes to act as
executor of an estate without any lawful warrant or authority but who, by his intermeddling,
makes himself liable as an executor to a certain extent. lf` a stranger takes upon him to act as
executor without any just authority, (as by intermeddling with the goods of the deceased, and
many other transactions,) he is called in law an ‘executor of his own wrong’, de son tort. 2 Bl.
Comm. 507.” [Black’s Law Dictionary, lst Ed]

(f)“Probate: The actor process of proving a will. The proof before an ordinary, surrogate,
register, or other duly authorized person that a document produced before him for official
recognition and registration and alleged to be the last will and testament of a certain deceased
person is such in reality.”[BIac/c ’s Law Dictionary, 4th Ed.]

(g)“Estate: The word ‘estate’ is a word of the greatest extension and comprehends every species
of property, real and personal It describes both the corpus and the extent of interest . . .lt
signifies everything of which riches or fortune may consist.” [Black’s Law Dictiona)y, 4th Ecl]

G (1) The Estate is in the nature of a trust but is not a trust. The Estate is subject to trust law and
is affected by probate law. Probate Law is the highest form of law. Scripture is trust and estate
law and trumps all other law, i.e., Treaty, Civil, Crirninal, law of Nations, Domestic, Probate,
Equity. It is just made-up rules for the world game for lawyers to control everything True law
has to be simple and must work equally for everyone, i.e., equality.

G (2) The Estate is a realm of action that is a combining of the physical and spiritual aspects of
each individual The Estate is older than any form of law or legal issue that is in or around the
world today and has been passed down through generations, having come from God. As such, no
form of law, other than scripture, can access or penetrate the truth of the Estate.

G (3) A trust is a contract and pursuant to US Constitution, Article 1, Section 10, “No state shall
pass any law impairing the obligation of contracts.“ In essence, an Estate or trust (contract) is
private law between the parties thereto. No one, not even the courts, have the authority to look
into the business of the Estate.

G (4) The courts do not have jurisdiction (in personam or subject matter) over the Estate. The
only probate court possible to bring a claim into is the one described on the Birth Certificate of
VERDELL TERRIA JONES, ESTATE.

G (5) By using the words “Executor” or “Estate“ I, Verdell Terria Jones, am the
Creditor. Creditors have immunity from the debtor.

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G (6) Notice is hereby given by the General Execun'ix and Guardian of the Estate, no other
otiice, nor other oi`iicer except those duly appointed by the General Executrix and Guardian
possesses any lawful rights or authority as an agent, administration trustee or guardian of the
Estate. Therefore, whether or not a person has acted for the Estate through a position of
custodian, protector, steward, keeper, guardian, attorney-in-fact, or any other title or capacity; we
hereby pronounce any and all assumed authority and all positions who have acted, now and then,
without written consent or proof of a deceased Estate, as De Son Tort; thereby, making any and
all acts and liabilities null and void, Nunc Pro Tunc. Any administration on the Estate of a living
person is void; especially, if it be made to appear that the person was in fact alive at the time
administration was granted, the administration is absolutely void.

G (7) The ALL CAPS NAME is foreign to the US and the States. lt is immune under the Foreign
Immunities Act because it is a creditor. In 28 USC 1300, et al (FSIA), “Foreign State” means
“Foreign Estate.”

Anyone refining any of the aforementioned and or the following issues must do so on the public
record, in writing, by way of sworn written affidavit under penalties of an assessment of
$1,000,000.00 for each issue and occurrence of perjury/false and misleading information, and or
unproven misleading statements/assertions No other refuting documents will be accepted.
Failure to respond within 10 days will be agreement and estoppel

NOTICE TO THE PRINCIPAL IS NOTICE TO THE AGENTS.
NOTICE TO THE AGENT IS NOTICE TO THE PRINCIPAL.

QEBIII‘]EIKLM]F§RECLAL.AQKMZM¢EM

I, Verdell-Terria:lones, attest and affirm that the aforementioned is true and correct, attested
to and submitted by The Chief Administrator / Grantor / Settlor / Creditor, Verdell-
Terria:Jones, a living, breathing self-aware Man, not deceased1 who is also the Executor/
Director/ Sole Beneiiciary/ Sole Shareholder / Chief Executive Officer of any associated
Trust, Estate, Legal Narne, State (Foreign or otherwise) and/or corporation of the Legal
Person known by, referred to or rendered as VERDELL TERRIA JONES.

l further acknowledge that this is an act of my free will and Deed to execute my
acknowledgement of my acceptance of the trust/real property/Estate as well as lawful control
of the real- property/Estate/Corporation/l`rust, be it said, be it documented done in/on/and for
the record, in this lawful court of record on this 9th day of Aprii, 2018.

 

VERDELL TERRIA JONES, ESTATE

Ofiice of the Executrix,

General Post Oflice,

c/o 9378 Arlington Expressway, 175

Jacksonville [Non-domestic], Florida, near [32225-9998].

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YEBIM

STATE OF FLORIDA z

SS: NOTICE
COUNTY OF DUVAL

Pursuant to title 28 USC Section 1746 (1) and executed “Without the United States”, I, Verdell
'l"erria Jones aEirm under the penalty of perjury under the laws of the United States of
America that the foregoing is true and correct to the best of my belief and informed knowledge

 

Signed on this 9th day of April,201 8 by the undersigned authority:

   

VERDELL TERRIA t_ \ ‘ ATE

Ofiice o ' i - ' " ecutrix,

General Post Oflice,

c/o 9378 Arlington, Expressway 175

Jacksonville [Non-domestic],Fiorida, near [32225-9998].

NOTICE

Using a notary on this document does not constitute any adhesion, nor does it alter my status in any
manner The purpose for notarization is verification and identiiication only and not for entrance
into any foreign jurisdiction

 

 

Jurat
Duval County )
) ss:
Florida Republic )
subscribed and damned before me this al day of P\V \” l l , 2013.
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/\ (Seal) 4,¢¢' "'~(b sam Pubuc steve er ande

Notary Signature - - Andrey M Fermn -rf

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am Exp|moe;oerzozi

 

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l hereby certify that a true and correct copy of the foregoing has been furnished by US Mail to:
the Clerk of the UNITED STA'I`ES N[H)DLE DISTRICT COURT for the COUNTY OF
DUVAL, the District Attomey’s Oliice for the Circuit I.D. JUDICIAL CIRCUIT, the Attorney
General for the STATE OF FLORIDA, the Secretary of State for the STATE OF FLOR[DA,
Governor RICK SCOTT’s oflice, and all public servants that I have appointed as
trustees/fiduciaries; on this 9m day of April, 2018.

Respectfully subnu

By: Executrix J/\'Que M&Kd

VERDELL TERRIA JOW: `S, ESTATE

Office o the Executn`x,

General Post Oflice,

c/o 9378 Arlington Expressway, 175

Jacksonville [Non-domestic],Florida, near [32225-9998].

 

